           Case 1:16-vv-01448-UNJ Document 43 Filed 02/23/18 Page 1 of 4




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1448V
                                    Filed: October 24, 2017
                                        UNPUBLISHED


    KATHLEEN SCARPATO,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Influenza (Flu) Vaccine; Shoulder
                                                             Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


William E. Cochran, Jr., Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN , for
petitioner.
Glenn Alexander MacLeod, U.S. Department of Justice, Washington, DC, for
respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

         On November 2, 2016, Kathleen Scarpato (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a right
shoulder injury related to vaccine administration (“SIRVA”) as a result of an influenza
(“flu”) vaccine she received on November 3, 2014. Petition at 1-2. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

      On March 22, 2017, a ruling on entitlement was issued, finding petitioner entitled
to compensation for SIRVA. On October 24, 2017, respondent filed a proffer on award
of compensation (“Proffer”) indicating petitioner should be awarded $127,500.00.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-01448-UNJ Document 43 Filed 02/23/18 Page 2 of 4



Proffer at 1. In the Proffer, respondent represented that petitioner agrees with the
proffered award. Based on the record as a whole, the undersigned finds that petitioner
is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $127,500.00, in the form of a check payable to
petitioner, Kathleen Scarpato. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
          Case 1:16-vv-01448-UNJ Document 43 Filed 02/23/18 Page 3 of 4



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

*************************
                          *
KATHLEEN SCARPATO,        *
                          *
              Petitioner, *
                          *
v.                        *                           No. 16-1448V (ECF)
                          *                           CHIEF SPECIAL MASTER
                          *                           NORA BETH DORSEY
SECRETARY OF HEALTH       *
AND HUMAN SERVICES,       *
                          *
              Respondent. *
*************************

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On March 22, 2017, the Chief Special Master found that a preponderance of the medical

evidence indicates that petitioner suffered a right shoulder injury related to vaccine

administration (“SIRVA”), which was causally related to the influenza (“flu”) vaccination she

received on November 3, 2014. The parties now address the amount of compensation to be

awarded in this case.

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$127,500.00, which represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses and future pain and suffering.
         Case 1:16-vv-01448-UNJ Document 43 Filed 02/23/18 Page 4 of 4



II.    Form of the Award

       Petitioner is a competent adult. Accordingly, the parties recommend that the

compensation provided to petitioner should be made through a lump sum payment of

$127,500.00 in the form of a check payable to petitioner. Petitioner agrees.

                                             Respectfully submitted,

                                             CHAD A. READLER
                                             Acting Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             CATHARINE E. REEVES
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             HEATHER L. PEARLMAN
                                             Assistant Director
                                             Torts Branch, Civil Division

                                              s/ GLENN A. MACLEOD
                                             GLENN A. MACLEOD
                                             Senior Trial Counsel
                                             Torts Branch, Civil Division
                                             U.S. Department of Justice
                                             P.O. Box 146, Benjamin Franklin Station
                                             Washington, D.C. 20044-0146
                                             Tel.: (202) 616-4122

DATE: October 24, 2017




                                                2
